      Case 2:25-cv-04131       Document 2     Filed 05/08/25      Page 1 of 4 Page ID #:39




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 7
 8                       UNITED STATES DISTRICT COURT
 9
                        CENTRAL DISTRICT OF CALIFORNIA
10   DO NO HARM; STUDENTS FOR                          Case No. 2:25-cv-4131
     FAIR ADMISSIONS; and KELLY MA-
11
     HONEY, individually and on behalf of              NOTICE OF RELATED CASE
12   others similarly situated,
13                                   Plaintiffs,
     v.
14   DAVID GEFFEN SCHOOL OF
15   MEDICINE AT UCLA; UNIVERSITY
     OF CALIFORNIA, LOS ANGELES;
16   REGENTS OF THE UNIVERSITY
17   OF CALIFORNIA; MARIA ANGUI-
     ANO, ELAINE BATCHLOR, JOSIAH
18   BEHARRY, CARMEN CHU, MI-
19   CHAEL COHEN, GARETH ELLIOT,
     HOWARD GUBER, JOSE HERNAN-
20   DEZ, NANCY LEE, RICHARD LEIB,
21   HADI MAKARECHIAN, ANA MA-
     TOSANTOS, ROBERT MYERS,
22   LARK PARK, JANET REILLY,
23   MARK ROBINSON, GREGORY
     SARRIS, AND JONATHAN SURES
24   JENNIFER LUCERO, GAVIN NEW-
25   SOM, ELENI KOUNALAKIS, ROB-
     ERT RIVAS, TONY THURMOND,
26   GEOFFREY PACK, AND ALFONSO
27   SALAZAR, each in their personal and

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                                                   1
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 1   official capacities as Regents; MI-
     CHAEL DRAKE, in his personal and
 2
     official capacities as the President of the
 3   UC System and Regent; JULIO
     FRENK, in his personal and official ca-
 4   pacities as the Chancellor of UCLA;
 5   STEVEN DUBINETT, in his personal
     and official capacities as the Dean of
 6   David Geffen School of Medicine at
 7   UCLA; JENNIFER LUCERO, in her
     personal and official capacities as the
 8   Associate Dean of Admissions of David
 9   Geffen School of Medicine at UCLA;
     ALICE KUO, RUSSELL BUHR, MA-
10   NUEL CELEDON, GARY HOL-
11   LAND, CAROLYN HOUSER, CHRIS-
     TINE MYO, FAYSAL SAAB, each in
12   their personal and official capacities as
13   members of the Admissions Oversight
     and Policy Committee of David Geffen
14   School of Medicine at UCLA; and
15   MEMBERS OF THE ADMISSIONS
     COMMITTEE, in their personal and of-
16   ficial capacities as members of the Ad-
17   missions Committee of David Geffen
     School of Medicine at UCLA,
18
                                     Defendants.
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 1          Per L.R. 83-1.3.1, Plaintiffs submit this notice of related cases. This case is re-
 2
     lated to Students Against Racial Discrimination v. Regents of the University of California, No.
 3
     8:25-cv-00192-JWH-JDE.
 4
 5          This case challenges UCLA Medical School’s illegal use of race in admissions.
 6   DNH-Compl. ¶¶1-11. Plaintiffs allege that UCLA discriminates on account of race
 7
     when admitting students, consistent with and pursuant to the UC System’s desire to
 8
 9   racially balance its student population. ¶¶48-88. Plaintiffs’ claims include the Equal
10   Protection Clause of the Fourteenth Amendment, Title VI of the Civil Rights Act of
11
     1964, and the Civil Rights Act of 1866 (42 U.S.C. §1981). ¶¶124-28. Plaintiffs name as
12
13   defendants, among others, the Regents of the University of California, Michael Drake

14   (UC President), and Julio Frenk (UCLA Chancellor). ¶¶19-23.
15
            The plaintiff in SARD similarly alleges that the UC system “discriminates on
16
17   account of race when admitting students.” SARD-Compl. ¶8. It challenges various UC

18   campuses’ racial preferences in admissions under the Equal Protection Clause, Title
19
     VI, and §1981. ¶¶42-60. And it names as defendants, among others, the Regents,
20
     Drake, and Frenk. ¶¶4-7.
21
22          Both cases thus “arise from the same or a closely related transaction, happening,
23
     or event”—the continued use of race by the UC System and its component schools.
24
     L.R. 83-1.3.1(a). Furthermore, both cases “call for determination of the same or sub-
25
26   stantially related or similar questions of law and fact” relating to associational standing
27   and the schools’ continued use of race in admissions in violation of the Equal
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                                                    3
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 1   Protection Clause, Title VI, and §1981. L.R. 83-1.3.1(b). For all these reasons, these
 2
     cases likely “would entail substantial duplication of labor if heard by different judges.”
 3
     L.R. 83-1.3.1(c).
 4
 5
 6    Dated: May 8, 2025                             Respectfully submitted,
 7
                                                     /s/ Bryan Weir
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